UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF LOUISIANA

GEORGE W. ROBINSON, JR. AND CIVIL ACTION

DEMETRA PARSONS ROBINSON
NO. 13-CV-375-SDD-RLB
VERSUS

CITY OF BATON ROUGE AND THE
PARISH OF EAST BATON ROUGE, ET AL.

MEMORANDUM IN OPPOSITION
TO MOTION FOR SUMMARY JUDGMENT

MAY IT PLEASE THE COURT:

Plaintiffs, George W. Robinson, Jr. and Demetra Parsons Robinson (“Plaintiffs”),
respectfully file this opposition to the motion for summary judgment filed by defendants City of
Baton Rouge/Parish of East Baton Rouge (“EBR”) and the Planning and Zoning Commission for
the City of Baton Rouge/East Baton Rouge Parish (the “PC’’) (“Defendants”).

I. BACKGROUND

Plaintiffs are developers of real estate who have significant experience developing
residential subdivisions in the Baton Rouge area! Plaintiffs purchased a roughly 101-acre tract
of land and sought to develop approximately 56 acres of it (“the Property”) into a single-family
home residential subdivision (the “Mallard Trails Project”).’ The Property’s zoning permitted
light residential development like the proposed subdivision.> Plaintiffs sought preliminary plat

plan approval from the PC, as required by EBR’s Unified Development Code (“UDC”).*

 

' Exhibit “G” (Affidavit of George Robinson), at (93-4.

? Exhibit “G,” at 97-8; see also Exhibit “F” (Deposition of David Lakvold), 5-9, 69 & exhs. 1, 2.

3 Exhibit “A” (excerpts of EBR’s Unified Development Code); Exhibit “C” (Deposition of John Price), at 30-31;
Exhibit “D” (Deposition of Steven Perret), at 17, 20; Exhibit “E” (Deposition of Laurie Marien), at 24; Exhibit “F,”
exh. 2, at 37; Exhibit “G,” at 99.

* Exhibit “G,” at §7; Doc. No. 62-2, at 2. A preliminary plat plan only sets forth a graphic presentation of the
intended development to allow the PC to determine if the development meets all the requirements of the UDC; it is

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Plaintiffs met all requirements imposed upon them by the UDC and the PC, and the preliminary
plat was approved by both the EBR Department of Public Works (“DPW”) and the PC staff.°

On January 22, 2013 the PC held a hearing to determine if the preliminary plat should be
approved.° Local residents appeared and expressed their concern about how a new development

7 No technical data or expert analysis

might impact traffic, flooding, and drainage in the area.
was presented adverse to Plaintiffs’ application.® The PC initially deferred consideration of the
plat (once at the applicants’ request and twice at the PC’s request), but subsequently voted to
deny Plaintiffs permission to develop the proposed subdivision.’

The PC’s refusal to permit the Mallard Trails Project to proceed constrained the use of
right which Plaintiffs enjoyed on the Property.’° Had the Mallard Trails Project been allowed to
proceed, Plaintiffs would have earned a net profit of $1.3 million above and beyond the value of
the vacant land, i.e., net profit from the sale of residential lots.!! Instead, Plaintiffs were forced

to sell off, at a gross profit of roughly $1 million, portions of the Property as vacant and

undeveloped tracts.”

 

only the first in a series of approvals which are required before a subdivision can be developed. Exhibit “A”
(Sections 4.102, 4.3); see also Exhibit “E,” 9, 12-13.

> Exhibit “C,” at 31-32, 56-58, 71; Exhibit “D,” at 18-19, 42-43; Exhibit “E,” at 29-31, 43; Exhibit “F,” exh. 2, at 3;
Exhibit “G,” at 914. Under the UDC, DPW is the agency responsible for determining whether a preliminary plat
sufficiently addresses drainage concerns, and a developer is further directed to confer with the PC staff to address
valid drainage or flood concerns. Exhibit “A” (Section 4.103(A)); see also Exhibit “D,” at 15.

° Exhibit “G,” at Paragraph 15; Defendants’ Exhibit “I;” Doc. No. 62-2, at 3.

7 Defendants’ Exhibit “I,” at 16-37.

® Exhibit “I;” see Exhibit “C,” at 39-46, 49-51, 61, 65; Exhibit “D,” at 23-25, 31, 38-40, 42; Exhibit “E,” at 33-34,
36-39, 50-52; Exhibit “G,” at (16.

° Exhibit “F,” exh. 2, at 1-3; Exhibit “G,” at 918; Doc. No. 62-2, at 7.

10 Exhibit “F,” exh. 2, at 3-4, 15, 93-94; Exhibit “G,” at 19.

" Exhibit “F,” exh. 2, at 1-6, 93-94; Exhibit “G,” at 20;

2 Exhibit “EF,” exh. 2, at 1-6, 93-94; Exhibit “G,” at (21. Defendants choose to characterize the revenues received
from the sales as “profit;” however their evidence, consisting of sale documents, shows only “gross profit,” i.@., all
proceeds obtained by the sales of the property, not “net profit,” the net of the sales price minus cost and expenses.
See Doc. No. 62-1, at 2, 7. In any case, Plaintiffs’ evidence addresses “net profits” above and beyond any value
which the undeveloped land enjoyed.

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Il. ARGUMENT AND AUTHORITIES
A. Summary Judgment Standard

The court shall grant summary judgment if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment as a
matter of law. If the movant bears the burden of proof on an issue, either because
he is the plaintiff or as a defendant he is asserting an affirmative defense, he must
establish beyond peradventure all of the essential elements of the claim or defense
to warrant judgment in his favor. A party must support its summary judgment
position by citing to particular parts of materials in the record or showing that the
materials cited do not establish the absence or presence of a genuine dispute.

If the mover bears his burden of showing that there is no genuine issue of fact, its
opponent must do more than simply show that there is some metaphysical doubt
as to the material facts. The nonmoving party must come forward with specific
facts showing that there is a genuine issue for trial. The non-mover's burden is
not satisfied by conclusory allegations, by unsubstantiated assertions, or by only a
scintilla of evidence. Where the record taken as a whole could not lead a rational
trier of fact to find for the non-moving party, there is no genuine issue for trial.
Further: In resolving the motion, the court may not undertake to evaluate the
credibility of the witnesses, weigh the evidence, or resolve factual disputes; so
long as the evidence in the record is such that a reasonable fact-finder drawing all
inferences in favor of the nonmoving party could arrive at a verdict in that party's
favor, the court must deny the motion.

B. Disputed Issues of Material Fact Preclude Summary Judgment on Plaintiffs’
Takings Claim

1. Defendants Have Waived Any Challenge that the Takings Claim is Unripe

Defendants contend at the threshold that Plaintiffs’ federal takings claim must be
dismissed as unripe because, under Williamson County Regional Planning Comm’n v. Hamilton
Bank,'* Plaintiffs must first seek compensation via the procedures that the state has established
before it can assert a takings claim in federal court.’> The Williamson County ripeness

requirement is prudential, not jurisdictional, and thus may be waived.'® Moreover, the

 

3 National Roofers Union v. Ascension Sheet Metal, LLC, 2015 WL 3952198, * 6-7 (M.D. La. June 29, 2015)
(quotation marks, brackets, ellipses, and citations omitted).
4473 U.S. 172, 193-94, 105 S.Ct. 3108, 3120, 87 L.Ed.2d 126 (1985).

'S Doc, No. 62-1, at 4-7.
'S Stop the Beach Renourishment, Inc. v. Fla. Dep't of Envil. Prot., 560 U.S. 702, 130 S.Ct. 2592, 2610, 177 L.Ed.2d

184 (2010); Rosedale Missionary Baptist Church v. New Orleans City, 641 F.3d 86, (5th Cir. 2011).

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Williamson County ripeness requirement does not apply to actions brought in state court, since a
state court may hear “simultaneously a plaintiff's request for compensation under state law and
the claim that, in the alternative, the denial of compensation would violate the Fifth Amendment
of the Federal Constitution.”'’ This is precisely the avenue which Plaintiffs pursued when they
filed their petition in state court asserting both an inverse condemnation claim (the recognized
Louisiana remedy for an unconstitutional taking) and a federal takings claim.'®

Thus, Plaintiffs’ petition, as originally filed in state court, contained a takings claim
which was indisputably ripe. The subsequent removal of the case did not magically render that
claim “unripe;” rather, by removing the case to a federal forum, Defendants waived any
challenge that might have existed under Williamson County to the ripeness of the federal claim.'”
As courts have recognized, Defendants cannot remove to federal court and then (years later no

less) use their removal as grounds for a ripeness argument.”°

2. Plaintiffs Can Present Facts Sufficient for a Jury to Conclude a Compensable
Regulatory Taking Has Occurred

a. Defendants Have Failed to Meet Their Summary Judgment Burden as
to Plaintiffs’ Categorical Taking Claim

 

'? San Remo Hotel, L.P. v. City & Cnty. of San Francisco, Cal., 545 U.S. 323, 346, 125 S.Ct. 2491, 162 L.Ed.2d 315
(2005).

'8 Bienville Quarters, LLC v. East Feliciana Parish Police Jury, 2010 WL 2653317, *2 (M.D. La. June 25, 2010)
(discussing inverse condemnation claim as proper state remedy for unconstitutional taking). Defendants assert that
Plaintiffs could have pursued the mechanisms for the review of “agency” action provided for by La. R.S. 49:964.
Doc. No, 62-1, at 4-5. Defendants neglect that this provision does not apply to the decisions of local governmental
bodies like the PC. La. R.S. 9:951(2); Brossette v. Alcoholic Beverage Control Bd., 1994-0781 (La.App. 1 Cir.
5/5/95), 655 So.2d 536, 538, writ denied, 1995-1349 (La. 9/1/95), 658 So.2d 1264. Plaintiffs pursued the correct
procedural course by instituting the present suit.

 Sansotta v. Town of Nags Head, 724 F.3d 533, 545-47 (4th Cir. 2013); see Key Outdoor Inc. v. City of Galesburg,
HL, 327 F.3d 549, 550 (7th Cir. 2003) (“When the City removed the suit to federal court, and frustrated plaintiffs’
effort to invoke state remedies, it logically either surrendered the benefit of Williamson or consented in advance to
the remand of state-law theories, so that the process required by Williamson could run its course. Yet Galesburg has
steadfastly resisted a remand.”). Defendants cite several cases for the proposition that the “subject matter
jurisdiction aspect of ripeness” cannot be waived (Doc. No. 62-1, at 6), but these cases were decided prior to recent
Supreme Court holdings that the Williamson County ripeness requirement is purely prudential, no? jurisdictional.
Rosedale Missionary, 641 F.3d at 89 (recognizing that “our holding in [prior cases] that Williamson County ripeness
is an unwaivable jurisdictional requirement is no longer good law.”).

*° Of course, were similarly situated plaintiffs forced to litigate through the state court system and only then pursue a
claim in federal court, governmental defendants would likely raise collateral estoppel issues.

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In the ruling denying Defendants’ Motion to Dismiss, the Court specifically noted that
Plaintiffs had asserted a claim that the PC’s action deprived Plaintiffs of “all economically

beneficial use” of the Property, thus stating a per se or “categorical” taking claim under Lucas v.

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South Carolina Coastal Counci Defendants attempt to assume this claim out of existence.
The failure to challenge it means that it survives Defendants’ motion, however.”*

Even if Defendants had challenged this claim, their challenge would lack merit. The
holding of Lucas was that “when the owner of real property has been called upon to sacrifice all
economically beneficial uses in the name of the common good, that is, to leave his property

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economically idle, he has suffered a taking. Thus, “regulations that leave the owner of land

without economically beneficial or productive options for its use—typically, as here, by
requiring land to be left substantially in its natural state—carry with them a heightened risk
that private property is being pressed into some form of public service under the guise of

725 “As Lucas elaborates, categorical assessment of an alleged

mitigating serious public harm.
taking is appropriate when the property is purportedly without economically viable use, and does

not require the parcel to be without all accounting or appraisal value. Both in its holding and its

reasoning, Lucas thus focuses on whether a regulation permits economically viable use of the

property, not whether the property retains some value on paper.””°

 

71505 U.S. 1003, 12 S.Ct. 2886, 120 L.Ed.2d 798 (1992); see Doc. No. 36, at 14.
Doc. No. 62-1, at 7.

°? Baker v. Metropolitan Life Ins. Co., 364 F.3d 624, 632 (5th Cir. 2004) (summary judgment cannot be granted on
claims not challenged in the summary judgment motion).

4 505 U.S. at 1010, 12 S.Ct. at 2895 (emphasis supplied).

* 505 U.S. at 1010, 12 S.Ct. at 2894-95 (emphasis supplied).

?° Resource Investments, Inc. v. United States, 85 Fed. Cl. 447, 486 (2009) (footnotes omitted).

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Defendants have submitted no evidence suggesting what other “economically viable use”
Plaintiffs might have been able to make of the Property after the PC’s action.*’ Rather, they
have presented only evidence of subsequent sales of the property. “[FJocusing solely on
property values confuses the economically viable use inquiry with the diminution of value
inquiry normally applied only where no categorical taking exists.””® In this case, following the
PC’s action Plaintiffs (like the plaintiff in Lucas) remained owners of their property and were
free to sell it; what they were not free to do was use it in any economically beneficial way that
can be discerned from the record. Plaintiffs’ claim of a categorical taking under Lucas remains.

b. Defendants Have Failed to Meet Their Summary Judgment Burden as
to Plaintiffs’ “As Applied” Takings Claim

“[D]ue to the ‘fact-intensive’ nature of takings claims, courts are typically reluctant to
decide such claims at the summary judgment stage, preferring to wait for a trial to fully develop
the factual record.””” While Defendants recite the factors for an “as applied” taking set forth in
Penn Cent. Transp. Co. v. City of New York,*® they cite no authority indicating that on the facts
of record a reasonable jury, applying the multifactor balancing test of Penn Central, could not
find in Plaintiffs’ favor. Thus, Defendants’ have failed to meet their summary judgment burden.

Furthermore, the evidence of record shows that a reasonable jury would likely find in
Plaintiffs’ favor. The primary Penn Central factor (often stated as two separate factors) is “the

economic impact of the regulation on the claimant, and, particularly, the extent to which the

 

*7 As previously noted, the Here, the UDC’s owning zoning provisions recite that “the purpose of the Rural
district is to permit Low-Density Residential development.” But this is the precise development that the PC
denied.

*8 Nel Monte Dunes at Monterey, Ltd. v. City of Monterey, 95 F.3d 1422, 1433 (9 Cir. 1996).

? Resource Investments, Inc. v. United States, 85 Fed. Cl. at 466 (listing cases); see Tahoe-Sierra Preservation
Council, Inc. v. Tahoe Regional, 535 U.S. 302, 323, 122 S.C. 1465, 1479, 152 L.Ed.2d 517 (2002) (observing that
Penn Central inquiry “necessarily entails complex factual assessments of the purposes and economic effects of
government actions.”).

*° 438 U.S. 104, 124, 98 S.Ct. 2646, 57 L.Ed.2d 631 (1978).

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regulation has interfered with distinct investment-backed expectations. The economic effect

on the claimant can be measured in different ways, including changes in the market value of the
property,” whether the regulation makes the claimant’s business venture “commercially

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impracticable,””~ the value of the other remaining economically viable “uses” of the Property,**

and whether the regulation limits the owner’s ability to obtain a “reasonable return on its

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investment. As this suggests, the pertinent inquiry involves “an analysis of the effect the

[Defendants’] application of the zoning ordinance and subdivision regulations had on the value
of [Defendants’] property and investment-backed profit expectations.’

Defendants posit that while the PC’s action deprived Plaintiffs of the right to develop the
Property, eliminated its highest and best use, and deprived Plaintiffs of roughly $1.3 million in
profit, there was no economic impact on Plaintiffs because they were ultimately able to obtain
some gross profit by sale of the undeveloped land. However, Defendants make no attempt to
show how the regulation impacted the value of the Property, i.e., what the Property might have
sold for before the PC foreclosed the highest and best use of that Property. Only Plaintiffs have
submitted evidence concerning the “before and after” effect of the PC’s action on its property

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and investment-backed profit expectations.*’” Defendants’ evidence, on the other hand,

demonstrates only the unremarkable proposition that immovable property in the Baton Rouge

 

5! Penn Central, 438 U.S. at 124-25, 98 S.Ct. 2646. “The economic impact of the government's regulatory action is
mainly a factual question.” Rose Acre Farms, Inc, v. U.S., 559 F.3d 1260, 1267 (Fed. Cir. 2009) (citation omitted).
°° Hodel v. Irving, 481 U.S. 704, 714, 107 S.Ct. 2076, 95 L.Ed.2d 668 (1987).

33 Keystone Bituminous Coal Ass'n v. DeBenedictis, 480 U.S. 470, 495-96, 107 S.Ct. 1232, 1247-48, 94 L.Ed.2d 472
(1987).

** Andrus v. Allard, 444 U.S. 51, 66, 100 S.Ct. 318, 62 L.Ed.2d 210 (1979)

> Penn Central, 438 US. at 136, 98 S.Ct. at 2665 (internal quotation marks omitted).

© Williamson County, 473 U.S. at 200, 105 S.Ct. at 1323.

°7 See Exhibit “F,” exh. 2; Exhibit “G,” at 197-9, 19-21.

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area tends to appreciate over time.°® Plaintiffs could have sold the Property, vacant and
undeveloped, at any time; it was the fact they were prevented from using their Property as
permitted by law, i.e., developing the Property into the low-density subdivision Defendants’ own
zoning ordinance expressly contemplated, that is the basis of Plaintiffs’ complaint.* 9

In regard to the “reasonableness” aspect of the “reasonable investment-backed
expectations” inquiry, the law requires “an objective, but fact-specific inquiry into what, under
all the circumstances, [Plaintiffs] should have anticipated.”*° Defendants do not dispute that
Plaintiffs owned the Property for investment purposes, nor do they dispute that it was reasonable
for Plaintiffs to expect to reap an additional $1.3 million in profit if allowed to develop the
Property into a residential subdivision; rather, their sole contention is that, because the
development required the approval of the PC under state and local law, it was not reasonable for
Plaintiffs to have any expectation that the development might proceed.*!

Contrary to Defendants’ unsupported contention, “[t]he existence of a regulatory regime
does not per se preclude all investment-backed expectations for development.” Rather, “it helps
to shape the reasonableness of those expectations.” Furthermore, this “reasonable expectation”
standard does not require “certainty,” but rather “implies reasonable probability, like expecting
rent to be paid.”“* In short, Plaintiffs must show only that, under the circumstances of the case,

and considering “[t]he nature and extent of permitted development under the regulatory regime

 

38 Indeed, if Defendants contention is accepted, the Penn Central line of cases would be rendered practically
_ meaningless, since in every “regulatory taking” case the owner is left with title to his property and can sell it on the
open market, including for a profit if (as is the case in most jurisdictions) the property appreciates over time.

39 Under Penn Central “a diminution in value, standing alone,” Jackson Court Condominiums, Inc. v. City of New
Orleans, 874 F.2d 1070, 1080 (Sth Cir. 1989) (citing Penn Central) (emphasis supplied), does not establish a
Taking. But Defendants’ proposition, that the loss of future profits from the ability to develop their land had no
perceptible economic impact on Plaintiffs because they could still earn $1 million (by virtue of appreciation) by
selling the land undeveloped, is altogether wrong.

” Cienega Gardens v. United States, 331 F.3d 1319, 1346 (Fed. Cir. 2003).

“' Doc. No. 62-1, at 9-10.

“2 Palm Beach Isles Associates v. United States, 231 F.3d 1354, 1364 (Fed. Cir. 2002).

3 Palazzolo v. Rhode Island, 533 U.S. 606, 633, 121 S.Ct. 2448, 150 L.Ed.2d 592 (2001).

“4 Rancho de Calistoga v. City of Calistoga, 800 F.3d 1083, 1090 (9th Cir. 2015) (citation omitted).

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vis-a-vis the development sought by the claimant,’ a reasonable person would have considered
it probable that the Mallard Trails Project would be approved by the Pc.**

The record before the Court shows that all applicable zoning and UDC requirements were
met by Plaintiffs. Plaintiffs’ intended use of the land was thus “presumptively valid” and “there
was at least a ‘very strong likelihood’ that Plaintiffs' application would be approved.””’
Defendants make no attempt to challenge this prior finding. The record thus confirms that the
PC’s action clearly interfered with Plaintiffs’ reasonable investment-backed expectations.

As to the other factor referenced in Penn Central, i.e., the “character of the governmental
action,” Defendants posit only that because this case involves a regulatory taking, “there is no
governmental intrusion whatsoever.”“® To the extent Defendants employ the word “intrusion” to

mean “physical invasion,” they say nothing, since a physical invasion results in a categorical

taking and no Penn Central analysis is required. To the extent they employ the word “intrusion”

 

Resource Investments, Inc. vy. United States, 85 Fed. Cl. at 515 (internal quotation marks, brackets, and citations
omitted).

‘© Exhibit “F,” exh. 2, at 3 (“Since the development plan complied with the [UDC], the owner/developer had a
reasonable expectation the intended use would be approved and would enjoy the economic benefits of selling 90-
homes.”); see Acorn Land, LLC v. Baltimore County, MD, 402 Fed.Appx. 809, 817 (4th Cir. Sept. 21, 2010)
(“Acorn met the objective criteria for amending its water/sewer classification and that the Council arbitrarily and
capriciously blocked Acorn's petition .... [WJe find that Acorn has plausibly pled that it had a reasonable
investment-backed expectation to residentially develop its property with public water/sewer access. Moreover, we
find that Acorn plausibly pled that the Council interfered with this reasonable expectation when it rezoned Acorn's
property and denied Acorn's property the public water/sewer access necessary for such development.”); Cienega
Gardens, 331 F.3d at 1353 (“The trial court thus erred in accepting the government's assertion that no expectation of
the continuation of the prepayment term in a housing program participant's mortgage contract could be reasonable in
light of the applicable regulation. Knowledge of the Government's role in their chosen business venture, we hold, is
not enough to destroy the reasonableness of the expectation of this right to prepay that was expressly granted both
by contract and by regulation when the Owners entered the programs.”) (internal quotation marks, brackets, and
citation omitted); Sansotta v. Town of Nags Head, 97 F.Supp.3d 713, ( E.D.N.C. 2014) (“To be sure, the Owners
have been on notice that the beach in front of the Cottages is eroding and may eventually erode to the point that the
Cottages can no longer legally or practically be repaired. Nonetheless, the Owners rightly expected that the Town
would not attempt to accelerate that process through its unauthorized assertion of the public trust doctrine.”);
Resource Investments, Inc. v. United States, 85 Fed. Cl. at 466 (“However, plaintiffs’ investments were reasonable,
because plaintiffs had no reason to believe that they would not be able to procure all of the necessary permits, given
the pressing need for a new landfill and their familiarity with waste disposal in Pierce County.”).

47 Doc. No. 36, at 25-27, citing Urban Housing of America, Inc., et al. v. City of Shreveport, et al., 44,874 (La. App.
2nd Cir. 10/28/09), 26 So.3d 226, 231 (citing D'Argent Properties, LLC v. City of Shreveport, 44,457 (La. App. 2
Cir. 6/24/09), 15 So.3d 334, 340, writ denied, 2009-1726 (La. 11/6/09), 21 So.3d 308); see also Exhibit “F,” exh. 2,
at 3, 6.

“8 Doc. No. 62-1, at 10.

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in some non-physical sense, their submission is refuted by the record, which shows that the PC’s
action deprived Plaintiffs of a use of right protected by Louisiana law. As the Supreme Court
has observed, while the “character of the governmental action” factor is usually neutral, in
instances where a regulatory decree destroys “one of the most essential sticks in the bundle of
rights that are commonly characterized as property,” this factor alone may militate in favor of a
finding that a compensable taking has occurred.” Depending upon how the Court chooses to
address Plaintiffs’ use of right, this factor is either neutral or cuts in favor of a taking.

In sum, a review of the Penn Central factors on the existing record does not suggest that
no reasonable juror could find in favor of Plaintiffs. To the contrary, the evidence of record
strongly suggests that a reasonable jury would find in Plaintiffs’ favor.

C. Defendants Fail to Present Any Evidence that They are Entitled to Judgment as a
Matter of Law on Plaintiffs’ Substantive Due Process Claim

This Court has previously held that Louisiana law limits the ability of the PC to deny a
use of right like that which Plaintiffs requested, such that a decision would, if based upon no data
other than public opposition, be “arbitrary and capricious” (and thus offend substantive due

process).°” Notably, one of the commissioners who voted to deny the project agrees:

Q. So if there were neighbors who said the traffic was too bad or there were
drainage issues, would that be enough of a reason for you to vote no on
this project.

A. No. There would have to be some kind of substantiating evidence or

something. I mean, people get up there and say all kinds of stuff. 1

Defendants cite to no “substantiating evidence.”** Rather, they cite only (1) statements

made by the public at the hearing, and (2) the subjective “concerns” expressed by the PC about

 

” Hodel v. Irving, 481 U.S. 704, 716, 107 S.Ct. 2076, 2083,, 695 L.Ed.2d 668 (1987).

°° Doc. No. 36, at 20-22.
5! Exhibit “E,” at 40 (emphasis supplied). This same commissioner is unable to recall any such “substantiating

evidence” which supports her decision. Jd., at 40-47.
*? Doc. No. 62-1, at 13.

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flooding, drainage, and traffic in the vicinity of the Mallard Trails Project.°? Moreover, the
testimony of the PC commissioners who voted to deny the application establishes that the only
factual basis for their subjective beliefs was public opposition, and that they were aware of no
~ technical or expert analysis or other objective data that supported their decision.’ The record
also reflects that these general “concerns” did not stop Defendants from subsequently approving
other subdivisions in the vicinity of the Mallard Trails Proj ect.”

Defendants’ apparent contention is that superficially well-meaning concerns about
legitimate issues, even if based upon nothing more than personal opinion and public opposition,
and even though not applied consistently to all projects considered by Defendants, is enough to
justify Defendants’ action.’° This contention must fail given the contrary legal conclusion of this
Court that the PC was permitted to make decisions based only upon “data presented to” the PC,
and that such “data” could not consist solely of public opposition.*” However, the only “data”
that Defendants have pointed to as supporting their decision, which was “presented to” the PC,
are the statements of lay opponents of the Mallard Trails Project.

Defendants have put forward no reasonable construction of the law that vested in

 

3 Doc, No. 62-1, at 14-15.

54 Exhibit “C,” at 39-46, 49-51, 61, 65; Exhibit “D,” at 23-25, 31, 38-40, 42; Exhibit “E,” at 33-34, 36-39, 50-52.
Although the DPW and PC staff were available at all times to provide further information regarding any “concerns”
the PC itself might have had, there is no evidence the PC made any further inquiry to DPW or its own staff before
voting to deny Plaintiffs’ application. See Exhibit “C,” at 19-20, 24-25, 28-29, 38, 59-61.

* Exhibit “C,” at 70-71; Exhibit “D,” at 36-37.

°6 Tf the PC enjoyed unfettered legislative discretion, Defendants would at least have a colorable argument that this
should be the standard. However, for purposes of due process challenges the federal courts consider such decisions
to be “adjudicative.” Bush v. City of Gulfport, Miss., 454 Fed.Appx. 270, 276 (Sth Cir. Nov. 15, 2014); see Dolan v.
City of Tigard, 512 U.S. 374, 385, 114 S.Ct. 2309, 129 L.Ed.2d 304 (1994) (contrasting “[t]he sort of land use
regulations” that “involved essentially legislative determinations classifying entire areas of the city,” with a city's
“adjudicative decision to condition petitioner's application for a building permit on an individual parcel”). “Under
the adjudicative model, actions by state officials are tested by historical facts and ‘adequate evidence found within a
defined record.” Bush, 454 Fed.Appx. at 276 (internal quotation marks and citation omitted).

57 Doc. No. 36, at 23; see La. R.S. 33:101.3; Christopher Estates, Inc. y. Parish of East Baton Rouge, 413 So.2d
1333, 1340 (La. App. 1 Cir. 1982) (planning commission’s refusal to approve subdivision plat, which was based
upon community outcry, the subjective beliefs of the commissioners, and the recommendation of the planning
commission staff, but which was made without any expert testimony being heard, was arbitrary and capricious).

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Defendants the broad discretion (to deny a lawful use of property based solely upon
unsubstantiated supposition) they now claim. The present record does not suggest that, as a
matter of law, a reasonable jury could not find in favor of Plaintiffs on this claim.

D. Defendants Fail to Present Any Evidence that They are Entitled to Judgment as a
Matter of Law on Plaintiffs’ Procedural Due Process Claim

Defendants posit that Plaintiffs did not have a “legitimate claim of entitlement” to plat
approval, because such a “claim of entitlement” requires “either a certainty or a strong likelihood
that the application could have been granted.” 8 Even though it is undisputed that all
requirements imposed by law on Plaintiffs were met, Defendants assert that Louisiana law does
not establish such a “strong likelihood that the application could have been granted.”°”

Defendants neglect this Court’s prior ruling on this very issue:

Plaintiffs have stated that they complied with all laws, and conformed to

additional demands from Defendants. Assuming this is true, and considering

Louisiana's policy that land-use in these cases are presumptively valid, there was

at least a "very strong likelihood" that Plaintiffs’ application would be

approved. Therefore, Plaintiffs had a legitimate claim to entitlement to approval

of their preliminary plat, regardless of Defendants' discretion to grant or deny
preliminary plat approval.”

Defendants’ submission lacks merit.

E. Plaintiffs Can Demonstrate That the Constitutional Violations At Issue Here
Resulted From a Municipal Custom or Policy

Defendants contend that Plaintiffs cannot meet the “custom or policy” requirement for
Monell liability. An actionable “custom or policy” can be established “based on an isolated
decision made in the context of a particular situation if the decision was made by an authorized

policymaker in whom final authority rested regarding the action ordered.”®’ EBR has expressly

 

8 Doc. No. 62-1, at 16.

* Doc. No. 62-1, at 16-17.

© Doc. No. 36, at 25 (citation omitted) (emphasis supplied).

°! Cozzo v. Tangipahoa Parish Council--President Gov’t, 279 F.3d 273, 289 (Sth Cir. 2002).

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vested in the PC control over the approval of subdivision plats to the extent permitted by state
law. Moreover, state law vests in the PC exclusive authority over the regulation, and approval,
of subdivision plats. The PC is clearly the pertinent policymaker in regards to the actions at
issue in this case, actions which (as previously discussed) violate federal law.™ Accordingly,
Defendants’ submission must be rejected.

F. Disputed Issues of Material Fact Preclude Summary Judgment on Plaintiffs’
Pendent State Law Claims

Defendants contend that Plaintiffs’ inverse condemnation claim must be dismissed
because Plaintiffs cannot prove that the PC’s action either destroyed a major portion of the

65 However, in State

Property’s value or eliminated the practical economic uses of the property.
Through Dept. of Transp. and Development v. Chambers Inv. Co., Inc.,© the Louisiana Supreme
Court established a three-pronged test for establishing when an unconstitutional regulatory

taking has occurred under state law which does not consider whether a “major portion” of the

property’s value has been eliminated. Following this decision, Louisiana courts have found

 

° Exhibit “A” (Sections 1.1, 1.2, 3.3, & 3.4 of UDC); Exhibit “B” (Sections 10.03 & 10.04); Exhibit “C’’, at 14-15;
Exhibit “D,” at 9; Exhibit “E,” at 11-12. See Bolton v. City of Dallas, Texas, 541 F.3d 545, 548 (Sth Cir. 2008)
(“Accordingly, this court’s task is to identify those officials or governmental bodies who speak with final
policymaking authority for the local governmental actor concerning the action alleged to have caused the particular
constitutional or statutory violation at issue. This inquiry is specific to the particular action at issue, and depends on
an analysis of relevant state and local law.”) (internal quotation marks and citations omitted). Defendants admit this
fact in their statement of undisputed material facts. Doc. No. 62-1, at 1.

La. R.S. 33:101.1, 106, 110, 111, 112, 113, & 118. Upon adoption of a master plan “the jurisdiction of the
planning commission over plats shall be exclusive within the territory under its jurisdiction, and all statutory control
over plats or subdivisions of land granted by other laws shall, in so far as in harmony with the provisions of this
Sub-part, be deemed transferred to the planning commission of the parish or municipality, as the case may be.” La.
R.S. 33:117. EBR adopted its current comprehensive land use plan in 2012. Exhibit “C,” at 9; Exhibit “D,” at 18.

** Compare Campbell v. Rainbow City, Ala., 434 F.3d 1306, 1313 (11 Cir. 2006) (planning commission was
“policymaker” in regard to decision denying approval of building project) (applying Alabama law), cert. denied, 127
8. Ct. 559, 166 L. Ed. 2d 410 (U.S. 2006).

* Doc. No. 62-1, at 11.

° 595 So.2d 598, 599-600 (La.1992).

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unconstitutional takings where governmental action deprived a landowner of the property’s
highest and best use, even if other economically profitable uses remained.’

Defendants also neglect that the pertinent “value” for purposes of the Louisiana action
includes all profits that might reasonably be expected to be obtained from the property, including
net profits that might reasonably flow from the sales of the developed lots.®* The record
evidence shows that, measured in terms of their full loss, more than half the value they might
have expected to reap from their Property was lost. Defendants’ challenge thus fails.

IV. CONCLUSION
Plaintiffs respectfully request that this Honorable Court deny Defendants’ motion.
Respectfully submitted,
PHELPS DUNBAR LLP

/s/ Amanda W. Messa

 

J. Alan Harrell, Bar Roll No. 25081

Amanda W. Messa, Bar Roll No. 30108

II City Plaza | 400 Convention Street, Suite 1100

Baton Rouge, Louisiana 70802-5618

Post Office Box 4412

Baton Rouge, Louisiana 70821-4412

Telephone: 225-346-0285

Telecopier: 225-381-9197

Email: alan.harrell@phelps.com
amanda.messa(@phelps.com

ATTORNEYS FOR GEORGE W. ROBINSON,
JR. AND DEMETRA PARSONS ROBINSON

 

°” SDS, Inc. v. State, DOTD, 2007-0406 (La. App. 4 Cir. 2/13/08), 978 So.2d 1013, 1015-16 (state highway
department’s action in eliminating ability of 18 wheeler trucks to access plaintiffs property, and therefore deprived
property of its highest and best use as an industrial warehouse, held unconstitutional regulatory taking).

°8 State, through Department of Highways v. Terrace Land Co., Inc., 298 So.2d 859, 863-64 (La. 1974); Southwest
La. Elec. Mem. Corp. v . Hargrave, 432 So.2d 1147, 1149 (La. App. 3 Cir. 1983); State, DOTD v. Exxon Corp., 430
So.2d 1191, 1195 (La. App. 1 Cir. 1983); State of Louisiana, through Department of Highways v. LeBlanc, 388
So.2d 412, 414 (La. App. 1 Cir. 1980).

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CERTIFICATE OF SERVICE
I do hereby certify that on July 11, 2016, a copy of the foregoing pleading was filed
electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be

sent to counsel of record by operation of the Court’s electronic filing system.

/s/ Amanda W. Messa

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